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                                 UNITED STATES DISTRICT COURT
JEANNETTE J. CLACK                WESTERN DISTRICT OF TEXAS                             PHILIP J. DEVLIN
  CLERK OF COURT                 727 East Cesar E. Chavez Blvd., Suite A500              CHIEF DEPUTY
                                         San Antonio, Texas 78206


                                               April 14, 2022

           Griffin C. Rice
           Z Law Law Firm 1135
           Heights Blvd.
           Houston, TX 770008

        RE: Civil Case No. 5:22-cv-032-XR
             Koch Energy Services, LLC v. Grey Forest Utilities
        Dear Counsel:
        Our records indicate you are not admitted to practice in this Court. The Western District
        of Texas Local Court Rule AT-1(f)(1) states:
                          In General: An attorney who is licensed by the highest
                          court of a state or another federal district court, but who
                          is not admitted to practice before this court, may
                          represent a party in this court pro hac vice only by
                          permission of the judge presiding. Unless excused by
                          the judge presiding, an attorney is ordinarily required to
                          apply for admission to the bar of this court.
        If you are representing a party, please submit a Motion requesting the Court's
        permission to appear in the above captioned case. If you wish to file an application to
        be admitted in the Western District of Texas, the application forms and the Local Rules
        for the Western District of Texas are available on our website www.txwd.uscourts.gov.
        If you are an attorney who maintains his or her office outside the Western District of
        Texas, the Judge may require you to designate local counsel. (Local Rule AT-2).
        If you have any questions do not hesitate to contact our office.


                                                     Sincerely,
                                                     JEANNETTE J. CLACK, CLERK
                                                     United States District Court

                                                     By:________________________________
                                                        Monica Granados-Ramos

        cc: all counsel
